      Case:18-10033-SDB Doc#:10 Filed:01/12/18 Entered:01/13/18 00:55:33                         Page:1 of 5
                                       United States Bankruptcy Court
                                       Southern District of Georgia
In re:                                                                                  Case No. 18-10033-SDB
Evadne M Ford                                                                           Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 113J-1           User: ctardiff               Page 1 of 2                   Date Rcvd: Jan 10, 2018
                               Form ID: 309I                Total Noticed: 50


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 12, 2018.
db             +Evadne M Ford,    120 E Watkins Street,    Augusta, GA 30901-1748
7049826        +AU Health,    PO Box 2306,    Augusta, Georgia 30903-2306
7049827        +Augusta Physicians Group,     PO Box 660827,    Dallas, Texas 75266-0827
7049829        +Buchanan Auto Sales,    105 Edgefield Road,     N Augusta, SC 29841-2423
7049832        +Charming Shoppes,    PO Box 856044,    Louisville, KY 40285-6044
7049833        +Check Advance,    1694 Knox Avenue,    N Augusta, SC 29841-4020
7049834        +Citifinancial,    PO Box 70918,    Charlotte, NC 28272-0918
7049839        +Durham & Durham,    5665 New Northside Drive,     Ste 510,    Atlanta, Georgia 30328-4649
7049842        +GA Regents Med Assoc,    PO Box 96153,    Oklahoma City, OK 73143-6153
7049844        +GMAC,    c/o McCullough Payne & Haan,    171 17th Street NW, Ste 975,      Atlanta, GA 30363-1032
7049846        +Medical Data Systems,    645 Walnut Street,     Ste 5,    Gadsden, Alabama 35901-4173
7049850        +Nationwide Recovery,    PO Box 8005,    Cleveland, Ohio 37320-8005
7049851         Pay Day Your Way,    509-A Georgia Avenue,     N Augusta, SC 29841
7049852        +Pioneer Credit,    Attn: Servicing Agent/Officer,      1235 Walton Way,    Augusta, GA 30901-2141
7049855        +RJM Acquisitions,    PO Box 1160,    Syosset, NY 11791-0489
7049859       ++SUNSET FINANCE CO LLC,     510 MOUNTAIN VIEW DRIVE,     SUITE 500,   SENECA SC 29672-2145
               (address filed with court: Sunset Finance,       Attn: Servicing Agent/Officer,     107 N Oak Street,
                 Seneca, SC 29678)
7049857        +Sortis Financial,    PO Box 4869,    Dept 446,    Houston, TX 77210-4869
7049858        +Southern Mgmt Corp,    Attn: Servicing Agent/Officer,      PO Box 1947,    Greenville, SC 29602-1947
7049860        +The Money Tree,    Attn: Servicing Agent/Officer,      114 S Broad Street,
                 Bainbridge, GA 39817-3614
7049862        +Titlemax,    3018 Peach Orchard Road,    Augusta, GA 30906-3506
7049863        +Trinity,    PO Box 100808,    Atlanta, Georgia 30384-0808
7049865        +University Health,    620 13th Street,    Augusta, Georgia 30901-1008
7049866        +University Hospital,    PO Box 2345,    Augusta, GA 30903-2345

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: mcelroymagruder@aol.com Jan 10 2018 18:42:07        Angela McElroy-Magruder,
                 Claeys, McElroy-Magruder & Kitchens,    512 Telfair Street,     Augusta, GA 30901
tr             +E-mail/Text: 341notices@chp13aug.org Jan 10 2018 18:42:26        Huon Le,    P.O. Box 2127,
                 Augusta, GA 30903-2127
ust            +E-mail/Text: ustpregion21.sv.ecf@usdoj.gov Jan 10 2018 18:42:30        Office of the U. S. Trustee,
                 Johnson Square Business Center,    2 East Bryan Street, Ste 725,     Savannah, GA 31401-2638
7049824        +EDI: AFNIRECOVERY.COM Jan 10 2018 18:43:00       Afni Inc,    PO Box 3097,
                 Bloomington, Illinois 61702-3097
7049825        +EDI: ACCE.COM Jan 10 2018 18:43:00      Asset Acceptance,     PO Box 2036,
                 Warren, Michigan 48090-2036
7049828        +E-mail/Text: bankruptcies@mcbs.com Jan 10 2018 18:43:08        Brown & Radiology,     PO Box 3845,
                 Augusta, Georgia 30914-3845
7049830        +EDI: CAPIO.COM Jan 10 2018 18:43:00      Capio Partners,     2222 Texoma Pkwy,     Ste 150,
                 Sherman, Texas 75090-2481
7049831        +EDI: CAPONEAUTO.COM Jan 10 2018 18:43:00       Capital One Auto Finance,     3905 Dallas Pkwy,
                 Dallas, TX 75093-7892
7049835        +EDI: WABK.COM Jan 10 2018 18:43:00      Colonial Finance,     Attn: Servicing Agent/Officer,
                 1151 Broad Street,    Augusta, Ga 30901-1183
7049836        +EDI: CBS7AVE Jan 10 2018 18:43:00      Direct Charge,    PO Box 740933,     Dallas, TX 75374-0933
7049837        +EDI: RESURGENT.COM Jan 10 2018 18:43:00       Doctors Hospital,    c/o Resurgent Capital Services,
                 PO Box 1927,   Greenville, SC 29602-1927
7049838        +EDI: HCA2.COM Jan 10 2018 18:43:00      Doctors Hospital,     PO Box 740766,
                 Cincinnati, Ohio 45274-0766
7049840        +EDI: RESURGENT.COM Jan 10 2018 18:43:00       Eay Bay Funding,    c/o Resurgent Capital Services,
                 PO Box 288,   Greenville, SC 29602-0288
7049841        +E-mail/Text: bankruptcy@southstatebank.com Jan 10 2018 18:43:06        GA Bank & Trust,
                 PO Box 15367,   Augusta, GA 30919-5367
7049843        +EDI: CBS7AVE Jan 10 2018 18:43:00      Ginnys,    PO Box 740933,    Dallas, TX 75374-0933
7049845        +EDI: CBS7AVE Jan 10 2018 18:43:00      GrandPointe,    PO Box 740933,     Dallas, TX 75374-0933
7049847        +EDI: CBS7AVE Jan 10 2018 18:43:00      Midnight Velvet,     1112 7th Avenue,
                 Monroe, Wisconsin 53566-1364
7049849        +E-mail/Text: cd@musicarts.com Jan 10 2018 18:43:00       Music & Arts,     4626 Wedegwood Blvd,
                 Frederick, MD 21703-7159
7049848        +E-mail/Text: cd@musicarts.com Jan 10 2018 18:43:00       Music & Arts,     4626 Wedgewood Blvd,
                 Frederick, MD 21703-7159
7049853        +EDI: Q3G.COM Jan 10 2018 18:43:00      Quantum3 Group,     c/o Galaxy Portfolios,     PO Box 788,
                 Kirkland, WA 98083-0788
7049854        +E-mail/Text: bhill@augustaga.gov Jan 10 2018 18:42:41        Richmond County Tax Comm,
                 535 Telfair Street,    Ste 100,   Augusta, Georgia 30901-2372
7049856        +EDI: CBS7AVE Jan 10 2018 18:43:00      Seventh Avenue,     PO Box 740933,    Dallas, TX 75374-0933
7049861         Fax: 912-629-1539 Jan 10 2018 19:07:40      Titlemax,    15 Bull Street,     #200,
                 Savannah, Georgia 31401
7049864        +E-mail/Text: EBankruptcy@UCFS.NET Jan 10 2018 18:43:22        United Consumer Finance,
                 865 Bassett Road,   Westlake, OH 44145-1194
7049869         E-mail/Text: legal_bankruptcy@badcock.com Jan 10 2018 18:42:09        WS Badcock Corp,
                 Attn: Servicing Agent/Officer,    PO Box 232,    Mulberry, FL 33860
        Case:18-10033-SDB Doc#:10 Filed:01/12/18 Entered:01/13/18 00:55:33                                            Page:2 of 5


District/off: 113J-1                  User: ctardiff                     Page 2 of 2                          Date Rcvd: Jan 10, 2018
                                      Form ID: 309I                      Total Noticed: 50


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
7049867        +EDI: WFFC.COM Jan 10 2018 18:43:00     Wells Fargo DS,    PO Box 25341,
                 Santa Ana, CA 92799-5341
7049868        +EDI: WABK.COM Jan 10 2018 18:43:00     World Accept Corp,    Attn: Servicing Agent/Officer,
                 PO Box 6429,   Greenville, SC 29606-6429
                                                                                             TOTAL: 27

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 12, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 10, 2018 at the address(es) listed below:
              Angela McElroy-Magruder     on behalf of Debtor Evadne M Ford mcelroymagruder@aol.com
              Huon Le    notices@chp13aug.org
              Office of the U. S. Trustee    Ustpregion21.sv.ecf@usdoj.gov
                                                                                             TOTAL: 3
    Case:18-10033-SDB Doc#:10 Filed:01/12/18 Entered:01/13/18 00:55:33                                                                 Page:3 of 5
Information to identify the case:
Debtor 1                 Evadne M Ford                                                          Social Security number or ITIN    xxx−xx−2774

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Southern District of Georgia
                                                                                                Date case filed for chapter 13 1/9/18
Case number:          18−10033−SDB



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Evadne M Ford

2. All other names used in the
   last 8 years
                                              aka Evadne M Steed, aka Evadne Steed Ford, aka Estate
                                              of Margaret E Steed

                                              120 E Watkins Street
3. Address                                    Augusta, GA 30901
                                              Angela McElroy−Magruder                                       Contact phone 706−724−6000
4. Debtor's  attorney
   Name and address
                                              Claeys, McElroy−Magruder & Kitchens
                                              512 Telfair Street                                            Email: mcelroymagruder@aol.com
                                              Augusta, GA 30901

5. Bankruptcy trustee                         Huon Le                                                       Contact phone 706−724−1039
     Name and address                         P.O. Box 2127
                                              Augusta, GA 30903

6. Bankruptcy clerk's office                                                                              Hours open Mon−Fri 8:30AM−5:00PM
     Documents in this case may be filed      Federal Justice Center
     at this address.                         600 James Brown Blvd
     You may inspect all records filed in     P.O. Box 1487                                               Contact phone 706−823−6000
     this case at this office or online at    Augusta, GA 30903
      www.pacer.gov.                                                                                      Date: 1/10/18

                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
    Case:18-10033-SDB Doc#:10 Filed:01/12/18 Entered:01/13/18 00:55:33                                                                     Page:4 of 5
Debtor Evadne M Ford                                                                                                                Case number 18−10033−SDB

7. Meeting of creditors                                                                                            Location:
   Debtors must attend the meeting to     February 6, 2018 at 09:00 AM                                             Federal Justice Center − Plaza Bldg, 600
   be questioned under oath. In a joint                                                                            James Brown Blvd − 341 Mtg Rm,
   case, both spouses must attend.                                                                                 Augusta, GA 30901
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.
                                                          *** Valid photo identification required ***

8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 4/9/18
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 3/20/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 7/9/18
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                         A copy of the plan will be sent to you in a separate mailing. The hearing on confirmation will
                                          be held on:3/5/18, at 09:00 AM, Location: Federal Justice Center, Plaza Bldg, 600 James
                                          Brown Blvd (9th St), Augusta, GA 30901
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                    page 2
  Case:18-10033-SDB Doc#:10 Filed:01/12/18 Entered:01/13/18 00:55:33                                      Page:5 of 5
Debtor: Evadne M Ford                                                                            Case Number: 18−10033−SDB

                                  ADDITIONAL COURT SPECIFIC INFORMATION.


ID Required at          Debtor's photo ID and Social Security Card must be presented at the Meeting of
Meeting of              Creditors.
Creditors


11 USC 521(i)           45 days after the filing of the petition
Automatic
Dismissal
Deadline


Objections to           Objections to Confirmation including Objections to Debtor(s) Motions to Avoid a Lien or
Confirmation            Motions to Value Collateral, must be filed with the Clerk not later than seven (7) days
                        before the hearing to consider confirmation of a plan, unless the Court orders otherwise.
                        Objections shall be timely served on the Trustee, debtor, and debtor's counsel. At
                        confirmation, parties with standing to appear and be heard will be limited to debtors, the
                        Trustee, creditors who timely filed and served an objection, and counsel for any of the
                        above. Objections shall state succinctly, but with particularity, the statutory or case law
                        basis for the objection.


Dismissal or            At the confirmation hearing, the Court will determine whether the debtor's plan can be
Conversion at           confirmed. If confirmation is denied, the Court may, after considering the facts and
Confirmation            circumstances of the case at the confirmation hearing, on its own motion or on motion of
Hearing                 any party in interest, dismiss the case, dismiss the case with prejudice, or order that the
                        case be converted to Chapter 7. For cause, the Court may grant such motion at the
                        confirmation hearing without further notice.


Filing a Proof of Creditors are now able to file Proof of Claim forms for all chapters electronically. A
Claim             CM/ECF login/password is not required. Visit the Court's website,
                  www.gasb.uscourts.gov to find the ELECTRONIC CLAIMS link and filing instructions.


Multi−Court             An automated response for further information on this case is available 24 hours daily by
Voice Case              calling the Multi−Court Voice Case Information System (McVCIS) toll free number
Information             1−866−222−8029, selecting your language, and pressing 42, and then 1, to access the
System                  United States Bankruptcy Court for the Southern District of Georgia. Please have the
(McVCIS)                case number, social security number, or debtor name available when calling. In addition,
                        you may also contact the Clerk's Office directly. Please note that McVCIS is NOT the
                        official court record. The official court record continues to be maintained only by the
                        Clerk's Office.


Other
information


                                                                                    For The Court:
                                                                              Lucinda Rauback, CLERK
                                                                              United States Bankruptcy Court
                                                                              Federal Justice Center
                                                                              600 James Brown Blvd
                                                                              P.O. Box 1487
                                                                              Augusta, GA 30903

Dated: 1/10/18
                                                                                                                   Page 3
